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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT


  STANLEY DEWILDE,
        Plaintiff-Appellant,

               v.                                                   No. 23-8054

  UNITED STATES ATTORNEY GENERAL, et al.,
        Defendant-Appellees.


                      MOTION FOR EXTENSION OF TIME
                    TO FILE DEFENDANT-APPELLEES’ BRIEF

       Pursuant to Federal Rule of Appellate Procedure 27 and Tenth Circuit Rules

 27.6 and 31.4, the United States respectfully moves for a 45-day extension of the

 deadline for filing its response brief in this appeal to and including November 20,

 2023. Pro se plaintiff has indicated that he opposes this extension as requested.

       1. This case raises a Second Amendment challenge to 18 U.S.C. § 922(o),

 which generally makes it unlawful for a person to possess a machinegun.

       2. Plaintiff’s deadline to file his opening brief was September 15, 2023.

 Plaintiff filed his opening brief on September 5, 2023. The government’s response

 brief is currently due October 5, 2023. The government has not requested any prior

 extensions of time, and no oral argument date has been set.

       3. The extension of time is necessary to give the government’s counsel, Ben

 Lewis and Abby Wright, adequate time to prepare the government’s response and to

 coordinate with agency counsel, in light of other deadlines. Ben Lewis is the attorney
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 with principal responsibility for preparing the government’s brief in this case. In

 addition to this appeal, Mr. Lewis is responsible for drafting briefs in the following

 cases: Poling v. Kijakazi, No. 23-5209 (S. Ct.) (brief in opposition due Sept. 25, 2023);

 Miller v. Garland, 23-1604 (4th Cir.) (response brief currently due Oct. 30, 2023). Mr.

 Lewis is also scheduled to present oral argument in the following cases: Nevada Chapter

 of the Associated General Contractors of America v. Walsh, No. 22-16544 (9th Cir.) (oral

 argument scheduled for Oct. 5, 2023); Orlandi v. Nolen, No. 22-1269 (D.C. Cir.) (oral

 argument scheduled for Oct. 12, 2023); and has a number of other internal matters.

        Abby C. Wright, the attorney with review responsibility over this case, is

 responsible for reviewing the following cases: Stirling v. Salazar, No. 23-35059 (9th

 Cir.) (response brief currently due Sept. 28, 2023); Lillard v. Hendrix, Nos. 23-35049

 and 23-35059 (response brief due Oct. 30, 2023). She is also responsible for

 overseeing oral argument preparation in the following cases: W.J. v. Secretary of Health

 and Human Services, No. 22-2119 (Fed. Cir.) (oral argument scheduled for Sept. 26,

 2023); Fried v. Garland, No. 22-13893 (11th Cir.) (oral argument scheduled for Oct. 5,

 2023); Row 1 Inc. v HHS, No. 23-5020 (D.C. Cir.) (oral argument scheduled Oct. 6,

 2023); Orlandi v. Nolen, No. 22-1269 (D.C. Cir.) (oral argument scheduled for Oct. 12,

 2023); Sandpiper Residents Association v. HUD, No. 22-5334 (D.C. Cir.) (oral argument

 scheduled for Oct. 17, 2023); Bridgeport Hosp. v. HHS, No. 22-5249 (D.C. Cir.) (oral

 argument scheduled for Oct. 27, 2023).



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         4. The requested extension will not delay the resolution of this case, and

 counsel will exercise diligence in preparing the brief within the time requested.

         5. The government emailed pro se plaintiff on September 13, 2022, to ask for

 his consent to the requested extension of time. Plaintiff has indicated that he objects

 to the extension as requested.

                                        CONCLUSION

         For the foregoing reasons, we respectfully ask that the Court extend the filing

 date for the government’s response brief by 45 days, to and including November 20,

 2023.

                                        Respectfully submitted,

                                        ABBY C. WRIGHT

                                         /s/ Ben Lewis
                                        BENJAMIN R. LEWIS
                                        Attorneys
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                                        U.S. Department of Justice
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         SEPTEMBER 2023




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                          CERTIFICATE OF COMPLIANCE

       Pursuant to Federal Rule of Appellate Procedure 32(g)(1), I hereby certify that

 this motion complies with Federal Rule of Appellate Procedure 27(d)(1)(E) because it

 was prepared with Garamond 14-point, a proportionally spaced font with serifs, and

 the motion complies with Federal Rule of Appellate Procedure 27(d)(2) because it

 contains 525 words according to the word count of Microsoft Word.

                                                /s/ Ben Lewis
                                                Ben Lewis
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2023, I electronically filed the foregoing

 with the Clerk of the Court by using the appellate CM/ECF system.

                                                 /s/ Ben Lewis
                                                 Ben Lewis
